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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DUANE ANDREW FUOSS                            :
116 N. Diamond St                             :    CIVIL ACTION
Mount Pleasant, PA 15666                      :
                                              :
       v.                                     :    NO.    2:22-cv-723
                                              :
UNITED STATES OF AMERICA                      :
c/o Attorney General of the United States     :
U.S. Department of Justice                    :
950 Pennsylvania Avenue, NW                   :
Washington, DC 20530-0001                     :
    and                                       :
UNITED STATES POSTAL SERVICE                  :
c/o Chief Counsel, Torts                      :
General Law Service Center                    :
USPS National Tort Center                     :
1720 Market Street, Room 2400                 :
St. Louis, MO 63155-9948                      :
    and                                       :
CHRISTOPHER W. SHULTZ                         :
220 W. Pennsville Street                      :
Connellsville, PA 15425                       :

                                        COMPLAINT

                                            PARTIES

       1.      Plaintiff Duane Andrew Fuoss is an adult individual residing at 116 N. Diamond

Street, Mount Pleasant, PA 15666.

       2.      Defendant United States of America (hereinafter “USA”) is a governmental entity

to be served at 950 Pennsylvania Avenue NW, Washington, DC 20530-0001.

       3.      Defendant United States Postal Service (hereinafter “USPS”) is a governmental

entity located at 1720 Market Street, Room 2400, St. Louis, MO 63155-9948.

       4.      Defendant Christopher W. Schultz is an adult individual residing at 220 W.

Pennsville Street, Connellsville, PA 15425.
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                                JURISDICTION AND VENUE

       5.      This Court has original jurisdiction over this action pursuant to the Federal Tort

Claims Act, 28 U.S.C. §2671.

       6.      On November 1, 2018, Plaintiff submitted an Administrative Claim for the claim

set forth below to the National Tort Claims Center, United States Postal Service.

       7.      More than six months have elapsed since the submission of the Administrative

Claim and all conditions precedent to a Federal Tort Claims Act have been met.

       8.      Venue is proper in this district because the incident occurred in the Western

District of Pennsylvania.

                                 FACTUAL ALLEGATIONS

       9.      On September 15, 2018, Plaintiff Duane Andrew Fuoss was operating his 2009

Chevrolet Cobalt on Main Street near its intersection with Kennedy Avenue in Westmoreland

County/Mount Pleasant Borough, Pennsylvania.

       10.     On the date and place aforesaid, Defendant Christopher Schultz was operating a

United States Postal Service truck in the course and scope of his employment with the United

States of America and/or the United States Postal Service, on Kennedy Avenue near its

intersection with Main Street in Westmoreland County/Mount Pleasant Borough, Pennsylvania..

       11.     On the date and place aforesaid, Defendant Christopher Schultz disregarded a stop

sign at the corner of Kennedy Avenue and Main Street and slammed violently into the vehicle

being operated by Plaintiff Duane Andrew Fuoss.

       12.     As a result of the accident, Plaintiff suffered the serious injuries and damages set

forth below.
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       13.      The incident was caused solely due to the negligence and carelessness of

Defendants and was due in no part to any act or failure to act on the part of Plaintiff Duane

Andrew Fuoss.

                              COUNT I
     PLAINTIFF DUANE ANDREW FUOSS V. DEFENDANT UNITED STATES OF
                             AMERICA

       14.      Plaintiff incorporates herein by reference each and every averment contained in

paragraphs 1 through 13 as though the same were set forth fully herein at length.

       15.      At all relevant times, Defendant Christopher Schultz was acting in the course of

his employment and/or agency relationship with Defendant United States of America and

accordingly, Defendant United States of America is liable for his conduct.

       16.      Defendant United States of America was careless and negligent in:

             a. Disregarding a stop sign;

             b. Driving while on the phone;

             c. Driving while distracted;

             d. Failing to properly pay attention to traffic conditions;

             e. Failing to stop its vehicle in time to avoid the collision;

             f. Failing to take evasive maneuvers to prevent the collision;

             g. Being inattentive an otherwise distracted from the task at hand;

             h. Failing to properly maintain the USPS truck;

             i. Failing to keep the USPS truck in proper and working condition;

             j. Failing to properly control and direct its agent, Christopher Schultz;

             k. Entrusting its vehicle to Defendant Christopher Schultz;

             l. Entrusting its vehicle to a person who was not in proper condition to drive;
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              m. Failing to properly supervise Defendant Christopher Schultz; and

              n. Failing to abide by the statutes of the United States of America, Commonwealth
                 of Pennsylvania, and other governmental entities.

        17.      As a direct result of the negligence of Defendant, Plaintiff Duane Andrew Fuoss

suffered injuries including but not limited to: head injury; lumbar disc injury; lumbar

radiculopathy; lumbar sprain and strain; aggravation of prior lumbar spine condition; right foot

drop; hip injury; cervical disc injury; cervical radiculopathy; segmental dysfunction of the

cervical spine; cervical sprain and strain; shoulder injury; and other injuries, any and all of which

are permanent.

        18.      As a result of Defendant’s negligence and carelessness, Plaintiff suffered a serious

impairment of one or more bodily functions.

        19.      As a direct result of Defendant’s negligence and carelessness, Plaintiff has in the

past, is presently, and will in the future be caused to suffer physical and emotional pain and

suffering.

        20.      As a result of Defendant’s negligence and carelessness, Plaintiff has in the past, is

presently, and will in the future be caused to suffer embarrassment, anxiety, depression, loss of

life’s pleasures, and loss of the ability to enjoy life.

        21.      As a result of Defendant’s negligence and carelessness, Plaintiff has in the past, is

presently, and will in the future be caused to expend sums of money for medical care, treatment

and rehabilitation.

        22.      As a result of Defendant’s negligence and carelessness, Plaintiff has in the past, is

presently, and will in the future be caused to suffer economic loss as well as loss of earnings and

loss of earning capacity.
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        23.      As a result of Defendant’s negligence and carelessness, Plaintiff has suffered

scarring and disfigurement.

        24.      As a result of Defendant’s negligence and carelessness, Plaintiff has been

prevented and will be prevented in the future from performing his usual duties, occupations, and

activities, all to his great loss and detriment.

        WHEREFORE, Plaintiff Duane Andrew Fuoss respectfully requests that Defendant

United States of America be found liable in an amount in excess of $150,000 together with costs

and other such relief as the Court deems appropriate.

                                   COUNT II
              PLAINTIFF DUANE ANDREW FUOSS V. DEFENDANT UNITED STATES
                                POSTAL SERVICE

        25.      Plaintiff incorporates herein by reference each and every averment contained in

paragraphs 1 through 24 as though the same were set forth fully herein at length.

        26.      At all relevant times, Defendant Christopher Schultz was acting in the course of

his employment and/or agency relationship with Defendant United States Postal Service and

accordingly, Defendant United States Postal Service is liable for his conduct.

        27.      Defendant United States Postal Service was careless and negligent in:

              a. Disregarding a stop sign;

              b. Driving while on the phone;

              c. Driving while distracted;

              d. Failing to properly pay attention to traffic conditions;

              e. Failing to stop its vehicle in time to avoid the collision;

              f. Failing to take evasive maneuvers to prevent the collision;

              g. Being inattentive an otherwise distracted from the task at hand;
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             h. Failing to properly maintain the USPS truck;

             i. Failing to keep the USPS truck in proper and working condition;

             j. Failing to properly control and direct its agent, Christopher Schultz;

             k. Entrusting its vehicle to Defendant Christopher Schultz;

             l. Entrusting its vehicle to a person who was not in proper condition to drive;

             m. Failing to properly supervise Defendant Christopher Schultz; and

             n. Failing to abide by the statutes of the United States of America, Commonwealth
                of Pennsylvania, and other governmental entities.

       28.      As a result of the conduct of Defendant, Plaintiff suffered the injuries and

damages set forth above and incorporated by reference.

       WHEREFORE, Plaintiff Duane Andrew Fuoss respectfully requests that Defendant

United States Postal Service be found liable in an amount in excess of $150,000 together with

costs and other such relief as the Court deems appropriate.

                                 COUNT III
             PLAINTIFF DUANE ANDREW FUOSS V. DEFENDANT CHRISTOPHER
                                 SCHULTZ

       29.      Plaintiff incorporates herein by reference each and every averment contained in

paragraphs 1 through 28 as though the same were set forth fully herein at length.

       30.      Defendant Christopher Schultz was careless and negligent in:

             a. Disregarding a stop sign;

             b. Driving while on the phone;

             c. Driving while distracted;

             d. Failing to properly pay attention to traffic conditions;

             e. Failing to stop its vehicle in time to avoid the collision;

             f. Failing to take evasive maneuvers to prevent the collision;
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             g. Being inattentive an otherwise distracted from the task at hand;

             h. Failing to properly maintain the USPS truck;

             i. Failing to keep the USPS truck in proper and working condition; and

             j. Failing to abide by the statutes of the United States of America, Commonwealth
                of Pennsylvania, and other governmental entities.

       31.      As a result of the conduct of Defendant, Plaintiff suffered the injuries and

damages set forth above and incorporated by reference.

       WHEREFORE, Plaintiff Duane Andrew Fuoss respectfully requests that Defendant

Christopher Schultz be found liable in an amount in excess of $150,000 together with costs and

other such relief as the Court deems appropriate.



                                                      LOWENTHAL & ABRAMS, PC

                                              BY:     /s/ Gary Solomon
                                                      GARY SOLOMON, ESQUIRE
